           Case 1:22-cv-06913-JGK Document 45 Filed 07/12/23 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MARGARET RATNER KUNSTLER, ET AL.,                                       22 – cv – 6913 (JGK)

                                   Plaintiffs,                          ORDER TO SHOW CAUSE

             -   against     -

CENTRAL INTELLIGENCE AGENCY, ET. AL.,


                                    Defendants.
------------------------------------------------------------------x


        Upon reviewing and filing the annexed Declaration of Brian Levenson, sworn to on July

12, 2023, the attached memorandum of law, exhibits and any other pleadings and filings in this

matter, it is hereby:

        ORDERED, the defendant Undercover Global S.L. (“Defendant”) shall respond in

writing to this Order to Show Cause for a default judgement by ___________. If the Defendant

fails to respond by that date, judgement may be entered against them and the defendant

Undercover Global S.L. will have no trial. The plaintiff may reply by ____________.

        The plaintiff shall serve a copy of this Order to Show Cause by ____________ and shall

file proof of service by ____________.

        No personal appearances are required in connection with this Order to Show Cause.

Dated: July __, 2023                                          SO ORDERED.




                                                              HON. JOHN G. KOELTL
                                                              UNITED STATES DISTRICT JUDGE


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